 Case 3:20-cv-00407-CRS Document 44 Filed 06/16/20 Page 1 of 3 PageID #: 762




                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

KEISHA DORSEY,
Intervening Plaintiff                             :     Case No. 3:20-CV-407-CRS

v.                                                :

CARL BENSINGER, et. al.                           :

                AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE

        Intervening Plaintiff Keisha Dorsey, by and through Counsel, and Defendant Michael

Adams, in his official capacity as Kentucky Secretary of State, by and through Counsel, agree

and stipulate to settle this matter as follows:

        1. The Court has not yet ruled on Intervening Plaintiff Amy McGrath for Senate, Inc.’s

            motion to intervene in the afore-referenced matter.

        2. The Court has not yet ruled on Intervening Plaintiff Keisha Dorsey’s motion to

            intervene in the afore-referenced matter.

        3. Secretary Adams has objected to Intervening Plaintiff Amy McGrath for Senate,

            Inc.’s motion to intervene in the afore-referenced matter.

        4. Secretary Adams does not object to Intervening Plaintiff Dorsey’s intervention in the

            afore-referenced matter.

        5. Secretary Adams did not vote for, nor did he have the authority to vote for, and he

            does not support, the single polling place for the 2020 Primary Election in larger

            Kentucky Counties, including Jefferson, Fayette, Kenton, Boone, and Campbell

            Counties.

        6. In the event the Court grants Intervening Plaintiff Keisha Dorsey’s motion to

            intervene, Intervening Plaintiff Keisha Dorsey withdraws all claims against Secretary
Case 3:20-cv-00407-CRS Document 44 Filed 06/16/20 Page 2 of 3 PageID #: 763




       Adams and consents to dismissal of all such claims against Secretary Adams.

    7. The original Plaintiffs in the afore-referenced action simultaneously are settling this

       matter with Secretary Adams, through a separate agreed order, on terms identical to

       those herein.

    8. In exchange for his dismissal without prejudice, under FRCP 41(a), Secretary Adams

       and Intervening Plaintiff Keisha Dorsey agree that:

           a. Secretary Adams will assist, and have his staff assist, in any and all relief that

               may be ordered by the Court, including assisting to publish via his website

               and other media that he maintains, the location of any additional polling

               places and/or extension of any polling hours that may be ordered by the Court;

           b. Secretary Adams is hereby dismissed without prejudice under FRCP 41,

               except as to any claims made by Intervening Plaintiff Amy McGrath for

               Senate, Inc., if the Court grants Intervening Plaintiff Amy McGrath for

               Senate, Inc.’s motion to intervene;

           c. Unless and until such time as the Court denies Amy McGrath for Senate,

               Inc.’s motion to intervene, Secretary Adams reserves all rights to oppose Amy

               McGrath for Senate, Inc.’s Complaint for Injunctive and Declaratory Relief

               and any other submissions made by Amy McGrath for Senate, Inc., in the

               afore-referenced matter;

           d. The Court will retain jurisdiction to enforce this Agreed Order; and

           e. Each party will bear their own costs and fees, Intervening Plaintiff Keisha

               Dorsey expressly agreeing that Secretary Adams will not be liable for attorney

               fees or costs under 42 U.S.C. 1988 or other applicable law.
 Case 3:20-cv-00407-CRS Document 44 Filed 06/16/20 Page 3 of 3 PageID #: 764




IT IS SO ORDERED:

June 16, 2020


_____________________________
The Hon. Charles Simpson
Judge, U.S. District Court
                        Char
                           lesR.Si
                                 mpsonI
                                      II,Seni
                                            orJudg
                                                 e
                           Unit
                              edStat
                                   esDi
                                      str
                                        ictCour
                                              t
Stipulated and Agreed:



/s/Christopher Wiest               /s/Michael Wilson
Counsel for the Plaintiffs         Counsel for Secretary of State Michael Adams
